   Case 1:05-cr-01849-JCH        Document 559     Filed 07/09/06   Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,
                                               Case No.: CR05-1849 JH
                              Plaintiff,

       vs.
                                               (EXPEDITED RULING REQUESTED)
DAVID REID, et al.,

                             Defendants.


                UNOPPOSED MOTION BY DEFENDANT DAVID REID
                 TO EXTEND FLIGHT TIME UNTIL JULY 20, 2006

       Defendant, David Reid, by and through undersigned counsel, hereby moves this

Honorable Court to enter an Order permitting him to extend the flight time until July 20,

2006. The grounds for this Motion are:

       1.     Pursuant to the current terms and conditions of release, Mr. Reid is

prohibited from flying an aircraft.

       2.     On June 27, 2006, this Honorable Court entered an order allowing Mr.

Reid to fly an aircraft June 27, 2006 through July 10, 2006.

       3.     Mr. Reid was hired by Constellation Aircraft Management, LLC to fly a

King Air A-90, aircraft # N761K, during the period of June 27, 2006 through July 10,

2006. However, the aircraft has experienced a variety of mechanical problems. A copy

of the work order from Cutter Aviation is attached hereto as Exhibit A . As a result of

the unforeseen mechanical problems, the flight will now extend beyond July 10, 2006.
   Case 1:05-cr-01849-JCH        Document 559         Filed 07/09/06   Page 2 of 4




       4.     Mr. Reid would like to fulfill his obligation to Constellation Aircraft

Management, LLC and continue his flight through July 20, 2006.

       5.     Undersigned counsel contacted Assistant United States Attorney General

James Braun on July 7, 2006 and he indicated that he had no objection to Mr. Reid s

request to extend his flight time to July 20, 2006.

       6.     Undersigned counsel contacted Mr. Reid s assigned Pre-trial Services

Agency Officer in New Mexico, Nick Romero, on July 7, 2006 and he indicated that he

had no objection to Mr. Reid s request to extend his flight time to July 20, 2006.

       7.     Undersigned counsel contacted Mr. Reid s assigned Pre-trial Services

Agency Officer in Arizona, Suzette Frisby, on July 7, 2006 and she stated that she had

no objection to Mr. Reid s request to extend his flight time to July 20, 2006.

       Based on the foregoing, Mr. Reid requests this Honorable Court enter an Order

permitting him to fly an aircraft until July 20, 2006.

              RESPECTFULLY SUBMITTED this 7th day of July, 2006.

                                                   /s/ electronically signed

                                                   ZUBAIR ASLAMY
                                                   Attorney for Defendant Reid
                                                   1414 W. Broadway Road, Suite 122
                                                   Tempe, Arizona 85282
                                                   (480) 968-8700
I hereby certify that a true and correct copy
of the foregoing was filed electronically with
the court and faxed to the Assistant United States
Attorney and mailed to the following this 7th
day of July, 2006.

/s/ electronically signed


                                            - 2-
  Case 1:05-cr-01849-JCH     Document 559      Filed 07/09/06   Page 3 of 4




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                                        - 3-
         Case 1:05-cr-01849-JCH           Document 559         Filed 07/09/06       Page 4 of 4




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